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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )
Nathan William Fehl-Haber,                     )
                                               )       Case No. 1:13-cr-018
               Defendant.                      )


       Defendant is in custody at the Heart of America Correctional and Treatment Center

(“HACTC”) in Rugby, North Dakota, awaiting trial. Although he has court-appointed counsel, he

has written to the court on multiple occasions, most recently on October 3, 2014, to request a

detention hearing. In his correspondence, he states his father needs an organ transplant, that he is

the organ donor, and that the hospital is refusing to work with donors who are incarcerated.

       The court scheduled a status conference with counsel on October 10, 2014, to discuss

defendant’s request. In the interim, the Pretrial Services Office contacted defendant’s father to

confirm the statements made by defendant in his correspondence with the court.           It has since

advised the court that defendant’s father is ill and may require a transplant but has yet to be placed

on any transplant lists and that blood tests to determine whether defendant is a viable donor have

yet to be conducted. It has also advised that HACTC is making arrangements for defendant’s blood

to be drawn so that it may be tested to determine whether he is a viable candidate for organ donation.

       In light of this information, the court shall dispense with the status conference scheduled for

October 10, 2014. The circumstances do not require defendant’s immediate release. Medical tests

to determine defendant’s viability as an organ donor can be performed in Rugby without releasing

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him from custody. Defendant’s motion for a detention hearing (Docket No. 191) is DENIED

without prejudice.

       IT IS SO ORDERED.

       Dated this 7th day of October, 2014.

                                                  /s/ Charles S. Miller, Jr.
                                                  Charles S. Miller, Jr., Magistrate Judge
                                                  United States District Court




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